

People v Potter (2023 NY Slip Op 50980(U))



[*1]


People v Potter (Jarvis)


2023 NY Slip Op 50980(U)


Decided on September 18, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on September 18, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, James, JJ.



570288/18

The People of the State of New York, Respondent,
againstJarvis Potter, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Ann D. Thompson, J.), rendered April 9, 2018, convicting him, upon a plea of guilty, of assault in the third degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Ann D. Thompson, J.), rendered April 9, 2018, affirmed. 
Application by appellant's counsel to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1976]). We have reviewed this record and agree with defendant's assigned counsel that there are no nonfrivolous issues that could be raised on this appeal. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: September 18, 2023









